    Case 8:95-cr-00267-DKC         Document 657       Filed 02/02/16   Page 1 of 3



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                            :
UNITED STATES OF AMERICA
                                            :

        v.                                  :   Criminal No. DKC 95-0267-002

                                            :
JAMES DEJESUS MARTINEZ
                                            :

                                MEMORANDUM AND ORDER

        Defendant       James     DeJesus       Martinez       (“Defendant”)         was

sentenced in 1996 pursuant to the Sentencing Guidelines Manual

effective November 1, 1995.             At that time, the highest offense

level    for       controlled    substances,      level     38,    applied    to     150

kilograms or more of cocaine.            With the application of Amendment

782, the offense level for 150 kilograms or more, but less than

450 kilograms, of cocaine is 36.                  The highest level, 38, now

applies to 450 kilograms or more of cocaine.

        At   the    time   of   sentencing,     for     guideline      purposes,     the

court only needed to find that at least 150 kilograms of cocaine

were attributable to Defendant and Judge Williams did so:

               When you look at the evidence the way I did,
               involving many persons making numerous trips
               and many sales to various persons throughout
               these three, four years, according to the
               testimony, clearly the Court finds that
               there was in excess of 150 kilograms of
               cocaine.

               As the government suggested, it probably was
               closer to 400 or thereabouts. So I have no
    Case 8:95-cr-00267-DKC        Document 657      Filed 02/02/16      Page 2 of 3



             problem with reference to both of you [Mr.
             Martinez and Mr. Borda] that the base
             offense level starts at a 38.

Docket   No.    396,   Transcript,       9/16/96       at   55.      The    government

contends,      however,    that      the       quantity     was     more     than     450

kilograms, making Defendant ineligible for a sentence reduction.

It does so by relying on facts recited in the appellate opinion.

The facts are close, if not identical, to those recited in the

pre-sentence     report.       It      might    have    been      possible    for     the

government to persuade the sentencing judge that the quantity

exceeded 450 kilograms of cocaine, but that did not happen.

Instead,    Judge   Williams      only     remarked       that    the   quantity      was

close to 400 kilograms.             Accordingly, the defendant appears to

be eligible for a sentence reduction.

     The sentencing range thus becomes 360 months to life, and

Defendant seeks 360 months while the government advocates for

denial of any reduction.

     Upon      consideration      of     the     factors     applicable       under     §

3553(a), the sentence will be reduced, albeit not as much as

requested.      While the quantity used for guideline calculations

has been determined to be less than 450 kilograms, it is not

under that threshold by much.              Judge Williams remarked that the

quantity was close to 400 or thereabouts and the record amply

supports that finding.         Defendant was 35 years old at the time

of sentencing, and a 30 year sentence would mean release at

                                           2
     Case 8:95-cr-00267-DKC        Document 657       Filed 02/02/16      Page 3 of 3



around age 60, assuming good conduct.                   There is obviously room

between 360 months and a life sentence.                  Indeed, for statistical

purposes,     the    United   States      Sentencing          Commission       uses       470

months as the equivalent to a life sentence: “In cases where the

court imposes a sentence of life imprisonment, a numeric value

is   necessary      to   include    these     cases     in    any       sentence     length

analysis.       Accordingly,       life     sentences        are    reported        as    470

months, a length consistent with the average life expectancy of

federal     criminal     offenders    given     the     average         age   of    federal

offenders.”        U.S. Sentencing Comm’n, 2014 Interactive Sourcebook

of   Federal        Sentencing      Statistics         app.        A,     available        at

http://www.ussc.gov/sites/default/files/pdf/research-and-

publications/annual-reports-and-

sourcebooks/2014/Appendix_A.pdf#page=2                 (last        visited        Feb.   1,

2016).    Age 35 is the mean age for drug trafficking defendants.

      For    the    foregoing      reasons,     the     court       will      reduce      Mr.

Martinez’s sentence by separate order to 420 months.



Date: February 2, 2016                          /s/
                                       DEBORAH K. CHASANOW
                                       United States District Judge




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